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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION



 Ocean Semiconductor LLC,
                                                     Civil Action No. 6:20-cv-1212-ADA
                         Plaintiff
                                                     JURY TRIAL DEMANDED
 v.
                                                     PATENT CASE
 NXP Semiconductors N.V., NXP B.V. and
 NXP USA, Inc.,

                         Defendants.


                             CASE READINESS STATUS REPORT

       Plaintiff Ocean Semiconductor LLC (“Ocean”) and Defendant NXP USA, Inc. (“NXP”)

hereby provide the following status report in advance of the initial Case Management

Conference (CMC).

                                     FILING AND EXTENSIONS

       Plaintiff’s Complaint (Dkt. 1) was filed on December 31, 2020. There has been one

extension for a total of forty-five days.

                              RESPONSE TO THE COMPLAINT

       NXP responded to the Complaint with its Motion To Dismiss Claims For Failure to State

a Claim Under 35 U.S.C. 271(g) (“Motion to Dismiss”) (Dkt. 15) and Answer and Affirmative

Defenses (Dkt. 16) on March 12, 2021.

                                       PENDING MOTIONS

       Currently pending before this Court are NXP’s Motion to Dismiss (Dkt. 15); Ocean’s

Motion for Leave to File Sur-Reply in Opposition to Defendant NXP USA, Inc.’s Motion to

Dismiss for Failure to State a Claim (Dkt. 20); and Ocean and NXP’s joint Stipulation of

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Dismissal of Defendants NXP B.V. and NXP Semiconductors N.V. (Dkt. 24). Also pending is

Ocean’s Motion for Pre-Trial Consolidation of Co-Pending Related Cases (Dkt. 25).

                     RELATED CASES IN THIS JUDICIAL DISTRICT

   1. Ocean Semiconductor LLC v Mediatek Inc. and Mediatek USA Inc., Civil Action No.

       6:20-cv-1210-ADA (W.D. Tex.)

   2. Ocean Semiconductor LLC v. NVIDIA Corporaton, Civil Action No.: 6:20-cv-1211-ADA

       (W.D. Tex.)

   3. Ocean Semiconductor LLC v. Renesas Electronics Corporation and Renesas Electronics

       America, Inc., Civil Action No.: 6:20-cv-1213-ADA (W.D. Tex.)

   4. Ocean Semiconductor LLC v. Silicon Laboratories Inc., Civil Action No.: 6:20-cv-1214-

       ADA (W.D. Tex.)

   5. Ocean Semiconductor LLC v. STMicroelectronics, Inc., Civil Action No.: 6:20-cv-1215-

       ADA (W.D. Tex.)

   6. Ocean Semiconductor LLC v. Western Digital Technologies, Inc., Civil Action No.: 6:20-

       cv-1216-ADA (W.D. Tex.)

                           IPR, CBM, AND OTHER PGR FILINGS

       Defendant Western Digital Technologies (“WDT”) in Ocean Semiconductor LLC v.

Western Digital Technologies (Civil Action No.: 6:20-cv-1216-ADA) has filed an inter partes

review petition (IPR2021-00864) on April 29, 2021, challenging the validity of one of eight

patents asserted against WDT. That patent has also been asserted in this action.

                     NUMBER OF ASSERTED PATENTS AND CLAIMS

       In the Complaint, Plaintiff has alleged infringement of eight patents and a total of eight

claims. Plaintiff will set forth all asserted patents and claims in its preliminary infringement

contentions.

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                       APPOINTMENT OF TECHNICAL ADVISER

       The parties do not intend to request, nor anticipate a need for, a technical adviser at this

juncture.

                                MEET AND CONFER STATUS

       Plaintiff and Defendant met and conferred.

       The parties have no pre-Markman issues to raise at the case management conference

other than those already identified in the pending motions (Dkt. 15;Dkt. 20; and Dkt. 24).




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 Dated: May 14, 2021

 Respectfully Submitted,

 DEVLIN LAW FIRM LLC                            SHELTON COBURN LLP

  /s/ Alex Chan____                             /s/Bradley D. Coburn__
  Timothy Devlin                               Barry K. Shelton
  tdevlin@devlinlawfirm.com                    Texas State Bar No. 24055029
  Henrik D. Parker                             Bradley D. Coburn
                                               Texas State Bar No. 24036377
  hparker@devlinlawfirm.com
                                               311 RR 620, Suite 205
  Alex Chan                                    Austin, TX 78734-4775
  State Bar No. 24108051                       bshelton@sheltoncoburn.com
  achan@devlinlawfirm.com                      coburn@sheltoncoburn.com
  1526 Gilpin Avenue                           Telephone: (512) 263-2165
  Wilmington, Delaware 19806                   Facsimile: (512) 263-2166
  Telephone: (302) 449-9010
                                               Attorneys for Defendants
  Facsimile: (302) 353-4251
                                               NXP Semiconductors N.V., NXP B.V. and
                                               NXP USA, Inc.
  Attorneys for Plaintiff
  Ocean Semiconductor LLC



                               CERTIFICATE OF SERVICE

       I hereby certify that on May 14, 2021, a true and correct copy of the above and foregoing

document has been served on all counsel of record via the Court’s CM/ECF system.



                                            /s/ Alex Chan
                                            Alex Chan




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